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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
            v.                      )              No. 19-CR-10080
                                    )
ELIZABETH HENRIQUEZ,                )
                  Defendant.        )
                                    )
____________________________________)

            ELIZABETH HENRIQUEZ’S MOTION TO MODIFY HER SENTENCE
                    PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)

       By and through undersigned counsel, Defendant Elizabeth Henriquez respectfully requests

that the Court, pursuant its statutory authority under 18 U.S.C. § 3582(c)(1)(A)(i), modify the

sentence that it imposed on March 31, 2020 to a sentence of seven months’ probation with a

condition of home confinement, in addition to whatever other conditions the Court deems

necessary and appropriate under the 18 U.S.C. § 3553(a) factors and the United States Sentencing

Guidelines Manual.

       Earlier today, Ms. Henriquez filed a motion to seal the memorandum of law supporting

this motion. Undersigned counsel intend to file the supporting memorandum of law under seal

with the Court, as well as file on the public docket an appropriately redacted version of the

memorandum, once the Court rules on the motion to seal.


DATED: June 2, 2020                                        Respectfully submitted,

                                                           /s/ Aaron M. Katz
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                                        Counsel for Elizabeth Henriquez




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                            LOCAL RULE 7.1 CERTIFICATION

       I, Aaron M. Katz, hereby certify that I conferred with the government regarding the subject
matter of this motion. The government opposes the motion.

                                                            /s/ Aaron M. Katz_________
                                                               Aaron M. Katz


                                CERTIFICATE OF SERVICE

       I, Aaron M. Katz, hereby certify that the foregoing document was served through the ECF
system on all registered participants in this action on June 2, 2020.

                                                            /s/ Aaron M. Katz_________
                                                               Aaron M. Katz




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